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Fill in this information to identify the case:

Debtor name         Krewe Energy LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF LOUISIANA

Case number (if known)       23-10067
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Prosperity Bank                                   Checking                                                                    $676,974.08



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $676,974.08
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    400,183.00     -                                     0.00 = ....                          $400,183.00
                                        face amount                         doubtful or uncollectible accounts



Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                      page 1
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Debtor        Krewe Energy LLC                                                          Case number (If known) 23-10067
              Name



12.       Total of Part 3.                                                                                                     $400,183.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:       Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.

          General description                Date of the last           Net book value of      Valuation method used      Current value of
                                             physical inventory         debtor's interest      for current value          debtor's interest
                                                                        (Where available)

19.       Raw materials
          Oil Tanks 1956                                                              $0.00                                        $144,744.00



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                     $144,744.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 2
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Debtor        Krewe Energy LLC                                                             Case number (If known) 23-10067
              Name

46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
       Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
           Include year, make, model, and identification numbers        debtor's interest          for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. Boat HK012454K888                                                   $0.00                                             $35,000.00


           48.2.    Boat - LAZ57604K898                                                  $0.00                                         $50,000.00



49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           SEE ATTACHED - Global Notes                                              Unknown                                              Unknown



51.        Total of Part 8.                                                                                                        $85,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3
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Debtor      Krewe Energy LLC                                                        Case number (If known) 23-10067
            Name

                                                                                                                      Current value of
                                                                                                                      debtor's interest


71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Oil & Gas Leases
         Burrwood - $3,920260.00
         Lake Long - $1,043,990.00
         Lapeyrouse - $1,815,520.00
         Little Lake - $3,674,660.00
         West Delta 84 - $1,995,320.00                                                                                     $12,449,750.00




78.      Total of Part 11.                                                                                               $12,449,750.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                   page 4
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Debtor          Krewe Energy LLC                                                                                    Case number (If known) 23-10067
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $676,974.08

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $400,183.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $144,744.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $85,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +            $12,449,750.00

91. Total. Add lines 80 through 90 for each column                                                       $13,756,651.08             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $13,756,651.08




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 5
